                                                            Case 18-16248-MAM             FORM
                                                                                        Doc 1951 Filed 01/28/19 Page                                       1 of 1                     Page No:     1
                                                                      INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT
                                                                                       ASSET CASES

Case No.:                      18-16248                                                                                                                  Trustee Name:                             Robert C. Furr, Trustee
Case Name:                     CHANCE & ANTHEM, LLC                                                                                                      Date Filed (f) or Converted (c):          01/29/2018 (f)
For the Period Ending:         12/31/2018                                                                                                                §341(a) Meeting Date:                     07/09/2018
                                                                                                                                                         Claims Bar Date:                          08/10/2018
                                  1                                                 2                              3                               4                         5                                         6

                      Asset Description                                        Petition/                 Estimated Net Value                  Property                 Sales/Funds                Asset Fully Administered (FA)/
                       (Scheduled and                                        Unscheduled                (Value Determined by                  Abandoned                Received by               Gross Value of Remaining Assets
                  Unscheduled (u) Property)                                     Value                          Trustee,                 OA =§ 554(a) abandon.           the Estate
                                                                                                       Less Liens, Exemptions,
                                                                                                          and Other Costs)

Ref. #
1        JP Morgan Chase Checking #1866                                                 $48.96                                 $0.00                                               $0.00                                           FA
2        CannaMed Pharmaceuticals LLC                                        $14,000,000.00                                    $0.00                                               $0.00                                           FA
3        Computer, Screen, Monitor                                                   $150.00                                   $0.00                                               $0.00                                           FA


TOTALS (Excluding unknown value)                                                                                                                                                                       Gross Value of Remaining Assets
                                                                            $14,000,198.96                                     $0.00                                               $0.00                                       $0.00



Major Activities affecting case closing:
 01/24/2019     This case was transferred in from Baltimore, Maryland Court - case# 18-11168-TJC. The trustee has been investigating the history of the entity and its use as an alter ego of Jeffrey
                Siskind and other entities controlled by him. There are many creditors who are allegedly victims of Mr. Siskind’s actions who may have claims against the debtor. This investigation is
                ongoing. An adversary proceeding to recover properties and transfers will be filed in the near future.


                Claims: No claims have been reviewed at this time.
 01/24/2019     Amended Schedules [ECF#50]


Initial Projected Date Of Final Report (TFR):           12/31/2021                            Current Projected Date Of Final Report (TFR):            12/31/2021                /s/ ROBERT C. FURR, TRUSTEE
                                                                                                                                                                                 ROBERT C. FURR, TRUSTEE
